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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                    Plaintiff,                    )
       v.                                         )    1:20-mj-00589-DML
                                                  )
                                                  )
ZHAO KAIKAI                                       )
                                                  )
                    Defendant.                    )

                                      APPEARANCE

TO: CLERK OF COURT

      Please enter the appearance of William H. Dazey, Jr., Indiana Federal Community

Defenders, Inc., as attorney for the Defendant.

Dated: July 24, 2020



                                       Respectfully submitted,

                                       William H. Dazey, Jr.
                                       William H. Dazey, Jr.
                                       Indiana Federal Community Defenders, Inc.
                                       111 Monument Circle, Suite 3200
                                       Indianapolis, IN 46204
                                       317-383-3520

                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2020 a copy of the foregoing Appearance was
filed electronically. Service of this filing will be made on all ECF-registered counsel by
operation of the court's electronic filing system. Parties may access this filing through
the court's system.

                                         William H. Dazey, Jr.
                                         William H. Dazey, Jr.
